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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                   )
                                            )                CASE NO. 4:08CR3009
                     Plaintiff,             )
                                            )
v.                                          )                       ORDER
                                            )
JOHN BROWN,                                 )
                                            )
                     Defendant,             )

       THIS MATTER comes come before the Court upon Defendant’s Unopposed Motion

to Continue Supervised Release Hearing (filing 281). Being fully advised in the premises,

and noting that the government and probation office have no objection, this Court finds that

said Motion should be granted.

       IT IS THEREFORE ORDERED that Defendant’s supervised release hearing is

hereby continued to October 10, 2012, at 12:30 p.m. Mr. Brown is ordered to appear at

said time.

       DATED this 18th day of September, 2012.

                                          BY THE COURT:

                                          Richard G. Kopf

                                          The Honorable Richard G. Kopf
                                          Senior United States District Judge
